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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC.,                      NO. 7:16-CV-00108-O
 et al.,
          Plaintiffs,

 v.
                                                 PLAINTIFFS’ RESPONSE TO
 XAVIER BECERRA, et al.,
                                                 DEFENDANTS’ RULE 60(b)
          Defendants.                            MOTION TO MODIFY JUDGMENT




      Plaintiffs do not oppose the modification to the Court’s injunction requested in

HHS’s motion (Dkt. 208; see Dkt. 208-1). Plaintiffs write briefly, however, to under-

score the contradiction between the relief HHS requests now and the position it took

just months ago on the justiciability of Plaintiffs’ claims.

      In July, HHS told this Court—as it had earlier in the litigation (cf. Dkt. 50 at 22-

28), and as it told the Fifth Circuit on appeal—that “[i]t is purely speculative” for

Plaintiffs to “posit that the agency will enforce Section 1557” to require “religious-

entity plaintiffs” to perform and insure gender transitions and abortions. Dkt. 202 at
18. Now that its justiciability arguments have failed, however, and this Court has

rightly entered an injunction, HHS has done an about-face. It now says it has “stat-

utory obligations” to “enforce Section 1557” that place it at “risk of violating [this

Court’s] Order.” Dkt. 208 at 4. Indeed, it claims that unless this Court modifies its

order, HHS expects to take “prohibited [enforcement] actions against a member” of

Plaintiff CMDA, “on the basis of the[ir] failure to perform or provide insurance cov-

erage for gender-transition procedures or abortion,” and that because it doesn’t know




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“the identities of [CMDA’s] members,” HHS will unknowingly violate this Court’s or-

der and be at “risk of contempt.” Id. at 3, 4.

   This is a straightforward admission that Plaintiffs face a credible threat of en-

forcement absent an injunction. And it confirms that this Court rightly rejected

HHS’s justiciability arguments and entered a permanent injunction. Dkt. 205.

   HHS’s motion, however, also casts a troubling light on HHS’s attempts to per-

suade this Court to accept those arguments in the first place. Had the Court done so,

it would have denied Plaintiffs injunctive relief—exposing them to serious harm, as

HHS’s own motion now confirms. Meanwhile, merely by pressing these arguments—

which it has done in various forms for over five years, see Dkt. 50 at 21 (“Plaintiffs’

alleged injuries can only be speculative and conjectural”); HHS Response Br. at 18,

Franciscan All., Inc. v. Becerra, No. 20-10093 (5th Cir. filed Nov. 20, 2020) (“plaintiffs’

theory of possible future injury is … speculative”)—HHS forced Plaintiffs, this Court,

and the Fifth Circuit alike to expend considerable resources responding to and delib-

erating over arguments the sincerity of which now appears to be open to question.

   To the extent this Court is inclined to grant HHS’s motion, then, it may wish to

consider expressly recognizing in its order the way in which the motion undercuts the

justiciability arguments HHS previously pressed—and thus only confirms the propri-

ety of this Court’s order granting permanent injunctive relief. Such recognition could

dissuade similar tactics in the future, as well as help to conserve judicial resources if

and when future courts—at the Fifth Circuit or elsewhere, see Religious Sisters of

Mercy v. Becerra, No. 21-1890 (8th Cir.) (response brief filed Sept. 8, 2021)—are called

upon to again address HHS’s meritless justiciability arguments.




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                                            Respectfully submitted.
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                            CERTIFICATE OF SERVICE
   I hereby certify that on September 24, 2021, I electronically filed the foregoing

document through the Court’s ECF system, which automatically serves notification

of the filing on counsel for all parties.

                                               /s/ Luke W. Goodrich
                                               Luke W. Goodrich




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